Case 2:21-cv-01412-ART-EJY   Document 437-23   Filed 01/06/25   Page 1 of 6




               EXHIBIT P
             Dance Informa Article
BellaMoxi Dance Competition/Convention - So Much More Than Medals
                   Case 2:21-cv-01412-ART-EJY                  Document 437-23             Filed 01/06/25   Page 2 of 6

                                                                                                                                    




           FEATURE ARTICLES


        BellaMoxi: So much more than medals




                                                                                                     DUSTY BUTTON TEACHES AT BELLAMOXI.
                                                                                                                PHOTO BY MITCH BUTTON.




                                                             



        It’s been said that the dance competition world is full
        of competitiveness, cattiness and flashiness, rather
        than artistry and personal growth. BellaMoxi,


https://www.danceinforma.com/2016/12/05/bellamoxi-much-more-than-medals/[11/20/2024 12:40:58 PM]
BellaMoxi Dance Competition/Convention - So Much More Than Medals
                  Case 2:21-cv-01412-ART-EJY Document 437-23                               Filed 01/06/25   Page 3 of 6
        however, fully defies the stereotype. The
        competition, convention and choreographic festival
        hones in on the values of creative exploration,
        artistic rigor and building each other up. Here, Dance
        Informa speaks with BellaMoxi faculty members
        Matthew Prescott (Ballet, Musical Theater) and
        Dusty Button (Ballet).

        Mission statements often have to be short and
        to-the-point to be effective. How might you
        expand upon BellaMoxi’s — what would you add,
        without the limitation of a word limit?

        Prescott

        “The mission of BellaMoxi is to provide an
        environment where students can explore the many
        facets of dance, with guidance from top-notch faculty
        that represent many sides of the industry of dance.
        Bella understands the fundamental elements that
        are required to be a successful, versatile dancer of
        the 21st century. With our hands-on approach, we
        are able to inspire all dancers to find where they fit
        into the dance world and to be the best dancer/artist
        they can be.”

        It appears
        as if a large
        part of that
        mission is
        instilling
        values and
        skills in the
        next
        generation
        of dance
        artists. Can
        you            Matthew Prescott. Photo courtesy of Joffrey
                       Ballet School.
        describe
        more
        specifically how BellaMoxi does that?


https://www.danceinforma.com/2016/12/05/bellamoxi-much-more-than-medals/[11/20/2024 12:40:58 PM]
BellaMoxi Dance Competition/Convention - So Much More Than Medals
                   Case 2:21-cv-01412-ART-EJY                  Document 437-23             Filed 01/06/25   Page 4 of 6

        Prescott

        “BellaMoxi is unique because it is looking to expose
        dancers around the country to the understanding of
        what it takes to have a successful career as a
        dancer. We are not focused solely on winning
        awards but are more interested in training the best
        dancers to represent our art form. We place more
        emphasis on training completely well-rounded
        dancers than on ‘one-trick ponies’. In a weekend
        with us, a dancer will have ballet, hip hop, musical
        theater, improvisation, jazz and other types of
        classes. Being able to do everything within the
        framework of dancing is key to being a working
        dancer.”

        What most clearly sets BellaMoxi apart from
        other competition/convention companies? An
        obvious answer appears to be BellaMoxi’s
        choreographic festival. Can you speak to how
        the festival lives, breathes and works in
        conjunction with those other two endeavors?

        Button

        “Politics, the lack thereof. In a world of politics, it is
        refreshing to take part in a competition/convention
        that is in no way political to studios, dancers or
        choreographers. It is a truly constructively
        competitive atmosphere. The atmosphere of the
        Choreographic Festival allows passionate individuals
        to explore more dimensions of the dance industry.
        That often results in discovering realms of their
        passion that they never knew existed.”

        What do you see as a growth area for BellaMoxi?
        Are there measures in place to address it?

        Button

        “Young businesses of any kind are vulnerable to the

https://www.danceinforma.com/2016/12/05/bellamoxi-much-more-than-medals/[11/20/2024 12:40:58 PM]
BellaMoxi Dance Competition/Convention - So Much More Than Medals
                Case 2:21-cv-01412-ART-EJY Document 437-23                                 Filed 01/06/25   Page 5 of 6
        manipulations that orbit them and can be pulled into
        paths following those that lead before them. While
        BellaMoxi is young, our mission statement will serve
        as a gravity that will keep us on the path that will
        benefit many dancers. Because of this, I believe the
        measures to address these things are in place.”

        What is once piece of advice that you might give
        a new participant?

        Button

                                                   “I would ask
                                                   them to filter
                                                   nothing and
                                                   take
                                                   everything.
                                                   As young
                                                   children, we
                                                   typically
        BellaMoxi tap faculty teacher Kaelyn Gray
        and faculty assistant Zach Irwin. Photo by have no filter
        Mitch Button.                              or
                                                   cognizance
        of how our peers perceive us as dancers. As
        teenagers, we typically develop an insecurity that
        trumps everything else, and which limits our growth
        because we always worry how we are perceived. If
        we are lucky, we conquer this insecurity at some
        point in our young adulthood and begin dancing for
        ourselves, rather than those around us. For artists
        wanting to harness their potential, I recommend
        acknowledging the stage of insecurity and ridding
        themselves of it — knowing that only great things will
        follow.”

        What should dancers know about BellaMoxi?

        Prescott

        “BellaMoxi is led by a team that wants to provide the
        best in dance education. We are passionate about


https://www.danceinforma.com/2016/12/05/bellamoxi-much-more-than-medals/[11/20/2024 12:40:58 PM]
BellaMoxi Dance Competition/Convention - So Much More Than Medals
                 Case 2:21-cv-01412-ART-EJY Document 437-23                                Filed 01/06/25   Page 6 of 6
        our students and know that our success is measured
        by what each of our students walk away with from a
        weekend spent with us. We encourage everybody to
        join us as we create the new gold standard in dance
        convention/competition experiences around the
        USA”

        Visit bellamoxi.com to learn more.

        By Kathryn Boland of Dance Informa.



        SHARE THIS:
                                                Tweet
                                                                      Save



                    Email                Print

        RELATED ITEMS: BELLAMOXI, CHOREOGRAPHIC FESTIVAL,
        DANCE COMPETITION, DANCE CONVENTION, DANCE
        EDUCATION, DUSTY BUTTON, HOMEPAGE TOP HEADING,
        MATTHEW PRESCOTT



                                                         



        RECOMMENDED FOR YOU




        Moving in, moving       Evergreen City        Make your digital
        on up: Amanda           Ballet steps into a   dance move
        Selwyn Dance            new era with Artistic
        Theatre/Notes in        Director
        Motion’s new            Maximiliano Guerra
        Tribeca studio
        space




https://www.danceinforma.com/2016/12/05/bellamoxi-much-more-than-medals/[11/20/2024 12:40:58 PM]
